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WILLIAM K. HARRINGTON                                          Relates to:
UNITED STATES TRUSTEE, REGION 2                                Case No. 19-10747 (SHL) ECF Nos. 256 and 257
U.S. Department of Justice                                     Case No. 19-12346 (SHL) ECF No. 192
Office of the United States Trustee
201 Varick Street, Room 1006
New York, NY 10014
Tel. (212) 510-0500
By:     Andrea B. Schwartz, Esq.
        Trial Attorney

UNITED STATES BANKRUTPCY COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------ X
In re                                                          :      Chapter 11
                                                               :
LIDDLE & ROBINSON, L.L.P., et al.,                             :      Case No.
                                                               :      19-10747 (SHL)
                                                               :      19-12346 (SHL)
                                                               :      (Jointly Administered)
                                             Debtors.          :
------------------------------------------------------------ X

                      UNITED STATES TRUSTEE’S APPLICATION,
                PURSUANT TO FED. R. BANKR. P. 2007.1(c), FOR AN ORDER
              APPROVING THE APPOINTMENT OF THE CHAPTER 11 TRUSTEE

TO:      THE HONORABLE SEAN H. LANE,
         UNITED STATES BANKRUTPCY JUDGE:

         William K. Harrington, the United States Trustee for Region 2, respectfully applies to the

Court, pursuant to Fed. R. Bankr. P. 2007.1, for an order approving his appointment of Jonathan

L. Flaxer as Trustee in the Chapter 11 case of Liddle & Robinson, L.L.P. (the “Corporate Case”)

(Case No. 19-12346), which has been administered jointly with the Chapter 11 case of Jeffrey

Lew Liddle (Case No. 19-10747). In support hereof, the U.S. Trustee states:

         1.       On December 23, 2019, the Court entered an order granting the U.S. Trustee’s

motion, pursuant to 11 U.S.C. § 1104, for the appointment of a Chapter 11 trustee in the

Corporate Case. Case No. 19-10747, ECF No. 192.
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       2.      On December 23, 2019, the U.S. Trustee filed the Notice of Appointment of

Chapter 11 Trustee, appointing Jonathan L. Flaxer, Esq., to serve as Trustee in the Corporate

Case. ECF No. Case No. 19-10747, ECF No. 192.

       3.      In making his selection, the U.S. Trustee’s counsel consulted with counsel for the

following parties in interest:

       a.      Debtor;

       b.      Secured Creditor Counsel Financial II LLC, LIG Capital LLC, and
               Counsel Financial Holdings LLC; and

       c.      Former Partner of Robinson & Liddle, L.L.P., Blaine Bortnick.

       4.      To the best of the U.S. Trustee’s knowledge, Mr. Flaxer has no connections with

the Debtor, the Secured Creditor or other parties in interest, as set forth in the Declaration of

Jonathan L. Flaxer, dated December 23, 2019, annexed as Exhibit A.

       WHEREFORE, the U.S. Trustee respectfully requests that the Court, pursuant to Fed. R.

Bankr. P. 2007.1, enter an Order Approving the Appointment of Jonathan Flaxer as Trustee, in a

form substantially similar to the proposed form annexed as Exhibit B.

Dated: New York, New York
       December 23, 2019
                                                        WILLIAM K. HARRINGTON
                                                        UNITED STATES TRUSTEE

                                                        By     /s/ Andrea B. Schwartz
                                                               Andrea B. Schwartz, Esq.
                                                               Trial Attorney




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